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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

 MICHAEL SALCEDO,


                          Plaintiff,
 v.                                                    Case No. 24-cv-12519

 THE PARTNERSHIPS and
 UNINCORPORATED ASSOCIATIONS                           Hon. Matthew F. Kennelly
 IDENTIFIED ON SCHEDULE A,

                          Defendants.

      NOTICE OF VOLUNTARY DISMISSAL PURSUANT TO FED. R. CIV. P 41(a)(1)

         Pursuant to Federal Rule of Civil Procedure 41(a)(1), Michael Salcedo (“Plaintiff”), hereby

voluntarily dismisses its Complaint against the following Defendants identified on Schedule A, with

prejudice, with each party responsible for its costs and attorneys’ fees:

                            No.                        Name
                              13                     Dahuiyuan
                              14                    DemuraLLC
                             120                  ELEVENSHOW
                             130                  LEMONSHOW
                             133                  MAKERSHOW
                             134                    MINISHOW
                             137                   PARISSHOW
                             155                    Jeremy Wade
                             173                   SELLTO HOT



Dated: March 7, 2025                                       Respectfully submitted,

                                                           /s/ Sofia Quezada Hastings
                                                           Sofia Quezada Hastings
                                                           One of the Attorneys for Plaintiff
ARONBERG GOLDGEHN DAVIS & GARMISA
225 W. Washington St. Suite 2800
Chicago, IL 60606
shastings@agdglaw.com
